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 8
                                 UNITED STATES DISTRICT COURT
 9
                               SOUTHERN DITRICT OF CALIFORNIA
10
11   F.R.V., a Minor, By and Through His              Case No. '21CV0165 DMS BLM
12
     Guardian ad litem, CRISTAL CAZARES
     VALENZUELA; and SONIA
13
     VALENZUELA PEREZ, Individually,                  NOTICE OF REMOVAL

14
                            Plaintiffs,

15
           v.

16
     TRI-CITY HEALTHCARE DISTRICT;
     TRI-CITY MEDICAL CENTER; VISTA
17
     COMMUNITY CLINIC, MELISSA
     HAWKINS, M.D.; ROMANA BAILEY,
18
     M.D.; and DOES 1 through 100,
     Inclusive,
19                          Defendants
20
21
22   TO: THE CLERK OF THE ABOVE-ENTITLED COURT
23         PLEASE TAKE NOTICE that the United States of America, through its
24   attorneys, Robert S. Brewer, Jr., United States Attorney, and Steve B. Chu, Assistant
25   U.S. Attorney, respectfully removes to this Court the above-captioned civil action from
26   the Superior Court of California, County of San Diego, Case No. 37-2020-00002536-
27   CU-MM-NC. The grounds for this removal include the following:
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 1           1.     On or about January 21, 2020, Plaintiff FRV initiated this action as Case
 2   No. 37-2020-00002536-CU-MM-NC in the Superior Court of California, County of
 3   San Diego. Plaintiff named as defendants Melissa Hawkins, M.D., Romana Bailey,
 4   M.D. and Vista Community Clinic, in addition to Tri-City Healthcare District and Tri-
 5   City Medical Center. See Exhibit A, attached hereto. Plaintiff FRV alleges that he
 6   suffered injuries as a result of medical care that fell below the applicable standard of
 7   care.
 8           2.     Removal of this case is appropriate pursuant to 28 U.S.C. §§ 1441, 1442
 9   and 1446, as Dr. Melissa Hawkins and Vista Community Clinic (“VCC”) are named
10   as defendants in this action. VCC and Dr. Hawkins have been deemed to be federal
11   employees for purposes of the Public Health Service Act, 42 U.S.C. § 233. Section
12   233 of the PHS provides liability protection under the FTCA for personal injury claims
13   arising out of alleged medical malpractice. 28 U.S.C. § 2679(d)(2) and 42 U.S.C. §
14   233(c) provide for removal of a case upon certification by the Attorney General that
15   the defendant employee was acting within the scope of their office or employment at
16   the time of the incident out of which the claim arose. Accordingly, this suit is properly
17   subject to removal, without bond, under 28 U.S.C. § 1442(a)(1) because the action to
18   be removed is against the United States pending in a state court located within this
19   judicial district. Pursuant to 28 U.S.C. § 1441(a), the above-captioned action also may
20   be removed because the district courts of the United States have original jurisdiction
21   over cases which arise under the Constitution, treaties or laws of the United States.
22   28 U.S.C. § 1331.
23           3.     The underlying action is a medical malpractice tort action for personal
24   injury,      which   is   subject   to   the   Federal   Tort   Claims   Act   (“FTCA”),
25   28 U.S.C. §§ 1346(b); 2671-2680. The FTCA allows the United States, and only the
26   United States, to be sued for the common law torts of its employees acting within the
27   scope of their official duties. This remedy is exclusive and explicitly bars common law
28   tort suits against individual federal employees and agencies. 28 U.S.C. §§ 2679(a) -
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 1   (b)(1). Further, the Ninth Circuit has recognized that the United States is the sole
 2   proper defendant in a suit brought under the Federal Tort Claims Act. Allen v. Veterans
 3   Administration, 749 F.2d 1386, 1388 (9th Cir. 1984). Accordingly, although Plaintiff
 4   has attempted to name Dr. Hawkins and VCC as defendants, this suit should be deemed
 5   an action brought against the United States under the provisions of the FTCA, and the
 6   United States shall be substituted as the party defendant. A Notice of Substitution to
 7   this effect is being filed concurrently with this Notice of Removal.
 8         4.     As of this time, neither the summons nor complaint in the above-captioned
 9   civil action has been served on the United States Attorney for the Southern District of
10   California or the Attorney General of the United States.
11         5.     A copy of Plaintiff’s Complaint filed in the Superior Court of California,
12   County of San Diego, Central Division, Case No. 37-2020-00002536-CU-MM-NC is
13   attached pursuant to 28 U.S.C. § 1446(a), as amended. See Exhibit A.
14         WHEREFORE, this action is properly deemed an action under the Federally
15   Supported Health Centers Assistance Act of 1992 and the Federal Tort Claims Act.
16   The action now pending in the Superior Court Case No. 37-2020-00002536-CU-MM-
17   NC, County of San Diego, Central Division, is hereby removed therefrom to this Court.
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20         DATED: January 28, 2021                       ROBERT S. BREWER, JR.
                                                         United States Attorney
21
22                                                       /s Steve B. Chu
23                                                       STEVE B. CHU
24                                                       Assistant U.S. Attorney
25
                                                         Attorneys for the
26                                                       United States of America
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